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                        EXHIBIT A
 Case1:14-ml-02570-RLY-TAB
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January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
William B. Curtis
CURTIS LAW GROUP
12225 Greenville Ave.
Suite 750
Dallas, TX 75243
bcurtis@curtis-lawgroup.com; JGomez@Curtis-LawGroup.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear William B. Curtis:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Alger, Lessie
             •   Allen, Catherine
             •   Baker, Jason
             •   Bryant, John
             •   Clark, Lorraine
             •   Cleek, Michael
             •   Cooper, Chris
             •   Cordar, Johnny
             •   Dumont, Paul
             •   Everly, Gary
             •   Fissell, Deborah
             •   Furney, Sherri
             •   Hampton, Linda
             •   Hanf, Janie
             •   Kimbell, Candy
 Case1:14-ml-02570-RLY-TAB
Case   1:14-ml-02570-RLY-TAB Document
                              Document7600-2
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          •   Lamprey, Melissa
          •   Lindy, Joanne
          •   McCoy, Nasir
          •   Moore, Kelly
          •   Myers, Russell
          •   O'Neal, Danny
          •   Owens, Alaimo
          •   Perry, Dolly
          •   Ramsey, Lonnie
          •   Rawls, Sharon
          •   Redman, Kathleen
          •   Schoby, Louise
          •   Shaikh, Nisar
          •   Starr, John
          •   Turner, Larry
          •   Walter, Nancy
          •   Williams, Christie
          •   Ziaja, Paul

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
